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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                            IN RE: UBER TECHNOLOGIES, INC.,                  Case No. 23-md-03084-CRB (LJC)
                                   7        PASSENGER SEXUAL ASSAULT
                                   8        LITIGATION                                       ORDER GRANTING IN PART AND
                                                                                             DENYING IN PART JOINT
                                   9                                                         DISCOVERY LETTER BRIEF
                                            This Order Relates To:                           REGARDING DISCOVERY RELATED
                                  10                                                         TO SAFETY DATA AND STATISTICS
                                            ALL ACTIONS
                                                                                             REDACTED
                                  11
                                                                                             Re: Dkt. Nos. 592, 6511
                                  12
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                                  13             Pending before the Court is a Joint Discovery Letter Brief where Plaintiffs request
                                  14   documents and data related to Defendants Uber Technologies, Inc., Raiser, LLC, and Raiser-CA,
                                  15   LLC’s (collectively, Uber) 2017–2018 and 2019–2020 U.S. Safety Reports (Safety Reports). Dkt.
                                  16   No. 651. The Court held a hearing on June 13, 2024. Dkt. No. 626. For the reasons detailed
                                  17   below, the Court GRANTS IN PART and DENIES IN PART Plaintiffs’ request for an order to
                                  18   compel discovery from Uber as to data and statistics underlying the Safety Reports as well as
                                  19   related documents.
                                  20   I.        BACKGROUND
                                  21             A.     Uber’s U.S. Safety Reports
                                  22             During the period covered by Uber’s Safety Reports, the company facilitated, on average,
                                  23   approximately 3 million trips a day. Dkt. Nos. 592-1 at 11, 592-2 at 15. In 2019, Uber issued its
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                                  25     On June 13, 2024, Plaintiffs filed an administrative motion for the removal and replacement of
                                       the Joint Discovery Letter Brief at Dkt. No. 592 because “under certain conditions, a portion of the
                                  26   content that was intended to be redacted can be viewed.” Dkt. No. 624. Uber consented to the
                                       requested relief. Id. The Court granted the motion, locked Dkt. No. 592 from public view, and on
                                  27   June 21, 2024, Plaintiffs filed a corrected Joint Discovery Letter Brief for the record. Dkt. No.
                                       651. The Court will cite to the corrected Joint Discovery Letter Brief in the rest of this Order.
                                  28   However, the Order will cite to the original exhibits attached to the Joint Discovery Letter Brief,
                                       which Plaintiffs did not request to remove and refile.
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                                   1   first Safety Report to “share[] details on Uber’s safety progress, processes, and data related to

                                   2   reports of the most critical safety incidents on our platform.” Dkt. No. 592-1 at 11.2 This report

                                   3   drew on data from January 1, 2017 through December 31, 2018. Id. at 34. Uber published its

                                   4   second, similar Safety Report in 2022. See Dkt. No. 592-2 at 10. This report covered data from

                                   5   January 1, 2019 through December 31, 2020. Id. at 39. The Safety Reports focused on three

                                   6   categories of critical safety incidents: (1) motor vehicle fatalities; (2) fatal physical assault; and

                                   7   (3) sexual assault. Dkt. Nos. 592-1 at 15–16, 592-2 at 15. Both reports describe their

                                   8   methodologies and Uber’s processes to collect and respond to safety incident reports.

                                   9           As to the third category of critical safety incidents, Uber adopted very specific definitions

                                  10   of sexual assault and sexual misconduct in both Safety Reports. Uber defines “sexual assault” as

                                  11   “any physical or attempted physical contact that is reported to be sexual in nature and without the

                                  12   consent of the user,” whereas “sexual misconduct” is “non-physical conduct . . . of a sexual nature
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                                  13   that happens without consent or has the effect of threatening or intimidating a user against whom

                                  14   such conduct is directed.” Dkt. Nos. 592-1 at 5, 592-2 at 5. Sexual misconduct, as defined in the

                                  15   reports, can range from staring or leering to a verbal threat of sexual assault. Id.

                                  16           To prepare the Safety Reports, Uber reviewed more than 800,000 user reports over the

                                  17   2017–2020 time period. Dkt. Nos. 592-1 at 47 (“The [audit] team reviewed approximately

                                  18   500,000 user reports, representing a range of safety- and non-safety related consumer issues to

                                  19   ensure that all necessary information was documented and all incident reports were categorized

                                  20   accurately and comprehensively”), 592-2 at 46 (“[T]he [audit] team reviewed over 350,000 user

                                  21   reports to ensure that all necessary information was documented and that the incident reports were

                                  22   categorized accurately and comprehensively.”). Uber collects historical safety incident reports

                                  23   through various channels, including from post-trip in-app support, on-trip in-app reporting, social

                                  24   media mentions (Twitter, Facebook, etc.), and law enforcement. Dkt. Nos. 592-1 at 35, 592-2 at

                                  25   30. Using key words and phrases, in addition to an advanced natural language processing

                                  26   technology, Uber sorts through user feedback to identify reports that may indicate safety concerns.

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                                  28    Unless specified otherwise, the Court refers to the page number located in the header generated
                                       by the Court’s e-filing system.
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                                   1   Dkt. Nos. 591-1 at 35, 592-2 at 40.

                                   2          Frontline support agents for Uber are responsible for handling and responding to reported

                                   3   safety issues and taking action with respect to user accounts as necessary. Dkt. Nos. 592-1 at 5,

                                   4   592-2 at 5. As explained in the first Safety Report, safety support agents, who sit on multiple

                                   5   teams within Uber’s US Incident Response Teams (IRT), receive training to review, document,

                                   6   and recommend appropriate action. Dkt. No. 592-1 at 29. Support agents are responsible for

                                   7   providing an initial classification of the incident using Uber’s Safety Taxonomy, which is simply a

                                   8   set of categories that Uber relies on to classify and prioritize safety incidents, apply action on

                                   9   individual reports, and inform Uber’s efforts to prevent future incidents. Id. at 35; see also Dkt.

                                  10   No. 592-2 at 30–31 (IRT safety support agents receive training on Incident Classification and use

                                  11   of the Sexual Misconduct and Violence Taxonomy, discussed in greater detail below). In

                                  12   addition, Uber created a specialized team within IRT in 2017 to provide further support in
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                                  13   connection with reports related to the most serious and urgent of incidents, including sexual

                                  14   assault. Dkt. No. 592-1 at 29. This specialized team gathers data pertaining to an incident report,

                                  15   including GPS information, timestamps, photos/videos submitted, and in-app communications,

                                  16   and they may speak with all parties involved, including reporting parties, potential victims, and

                                  17   accused parties. Id. Uber relies on “hundreds of people” to advance its safety efforts, including

                                  18   these support agents who receive special training. Id. at 21.

                                  19          In its Safety Reports, Uber did not report data trends based on the incident reports as

                                  20   categorized by the frontline support agents. Dkt. Nos. 592-1 at 46, 592-2 at 17, 47. Instead, Uber

                                  21   “created a specialized [audit team] dedicated to re-classifying safety incident reports.” Dkt. Nos.

                                  22   592-1 at 46; see also Dkt. 592-2 at 46. The audit process entailed three phases with the following

                                  23   objectives: (1) “Ensure all relevant safety incident reports were audited with the necessary data

                                  24   documented”; (2) “Audit to a high standard of quality”; and (3) “Update [Uber’s] historical data

                                  25   with the most accurate classification, addressing any discrepancies in auditor opinion.”. Dkt. No.

                                  26   592-1 at 46; see also Dkt. No. 592-2 at 46. Uber reasoned that frontline support agents’ primary

                                  27   responsibility involves providing support to reporting parties and collecting user statements and

                                  28   information related to potential safety incidents, not precise data classification. Dkt. No. 592-1 at
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                                   1   46. The Safety Reports explained the need for quality data, and the challenges associated with

                                   2   fragmented data and categorizing unwanted sexual experiences. Dkt. Nos. 592-1 at 33, 42–43, 48,

                                   3   592-2 at 16. Uber noted that reports of sexual assault can be interpreted subjectively, and the lack

                                   4   of shared definitions and inconsistent tracking can affect the accuracy, reliability, and consistency

                                   5   of data. Dkt. No. 592-1 at 42. In one example, Uber explained that some incident reports,

                                   6   including contacts from law enforcement, “may simply state that a user was sexually harassed or

                                   7   sexually assaulted,” with no clarifying details contained in the report or uncovered in any follow

                                   8   up communications. Id. at 48–49. Reports that are “unable to be sufficiently classified within

                                   9   Uber’s Safety Taxonomy and [] therefore classified as ‘Insufficient Information’” are excluded

                                  10   from the Safety Reports. Dkt. Nos. 592-1 at 49, 592-2 at 48.

                                  11          To refine the sexual assault and sexual misconduct portions of the first Safety Report, Uber

                                  12   partnered with experts from the National Sexual Violence Resource Center (NSVRC) to develop a
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                                  13   Sexual Misconduct and Violence Taxonomy. Dkt. No. 592-1 at 42. According to Uber, prior to

                                  14   this effort, a standardized tool for corporations to consistently classify reports of sexual violence

                                  15   from their consumers did not exist. Id. The Sexual Misconduct and Violence Taxonomy

                                  16   classifies unwanted sexual experiences into two overarching categories—sexual assault and sexual

                                  17   misconduct—which are further divided into a total of twenty-one secondary categories. Id. The

                                  18   categories are listed below, ordered from least severe to most severe:

                                  19                                       SEXUAL MISCONDUCT
                                  20                      1. Staring or Leering
                                                          2. Comments or Gestures > Asking Personal Questions
                                  21                      3. Comments or Gestures > Comments About Appearance
                                                          4. Comments or Gestures > Flirting
                                  22                      5. Comments or Gestures > Explicit Gestures
                                                          6. Comments or Gestures > Explicit Comments
                                  23                      7. Displaying Indecent Material
                                                          8. Indecent Photography/Video Without Consent
                                  24                      9. Soliciting a Sexual Act
                                                          10. Masturbation/Indecent Exposure
                                  25                      11. Verbal Threat of Assault

                                  26                                        SEXUAL ASSAULT
                                                          12. Attempted Touching of a Non-Sexual Body Part
                                  27                      13. Attempted Kissing of a Non-Sexual Body Part
                                                          14. Attempted Touching of a Sexual Body Part
                                  28                      15. Attempted Kissing of a Sexual Body Part
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                                                          16. Non-Consensual Touching of a Non-Sexual Body Part
                                   1                      17. Non-Consensual Kissing of a Non-Sexual Body Part
                                                          18. Attempted Non-Consensual Sexual Penetration
                                   2                      19. Non-Consensual Touching of a Sexual Body Part
                                                          20. Non-Consensual Kissing of a Sexual Body Part
                                   3                      21. Non-Consensual Sexual Penetration
                                   4   Id. at 84–85. Uber utilized the Sexual Misconduct and Violence Taxonomy again for the 2018–

                                   5   2019 Safety Report. Dkt. No. 592-2 at 44. However, both Safety Reports only analyzed data

                                   6   related to what Uber deemed to be the five most serious categories: Non-consensual kissing of a

                                   7   non-sexual body part; Attempted non-consensual sexual penetration; Non-consensual touching of

                                   8   a sexual body part; Non-consensual kissing of a sexual body part; and Non-consensual sexual

                                   9   penetration. Dkt. Nos. 592-1 at 15–16, 592-2 at 15. These five categories combined comprised

                                  10   only about 10,000 incidents over the 2017–2020 time period. Dkt. Nos. 592-1 at 60, 592-2 at 57.

                                  11   Uber stated in the first Safety Report, “In determining which categories of sexual assault were

                                  12   appropriate to include in this report, we prioritized: 1. Including the most serious categories of
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                                  13   sexual assault outlined in the taxonomy[;] 2. Maintaining a high degree of confidence and

                                  14   consistency in the quality of the overall dataset[; and] 3. Remaining as consistent as possible with

                                  15   the types of sexual assault that are already published in external research and national estimates.”

                                  16   Dkt. No. 592-1 at 17, 43.

                                  17          Both Safety Reports also included an external third-party validation of Uber’s use of the

                                  18   Sexual Misconduct and Violence Taxonomy. Dkt. Nos. 592-1 at 78–80, 592-2 at 69–71. The

                                  19   assessment for the 2019–2020 Safety Report, prepared by sexual violence prevention experts,

                                  20   reviewed a random and non-random sample of incidents reported in 2019, representative of reports

                                  21   across the entire Taxonomy. Dkt. No. 592-2 at 70. The non-random sample, which focused on

                                  22   the most serious incidents, included instances of attempted or actual contact, i.e., sexual assault,

                                  23   and incidents of sexual misconduct that involved solicitation, masturbation/incident exposure, and

                                  24   verbal threats of sexual assault. Id. Both reports concluded that Uber staff are effectively using

                                  25   the Sexual Misconduct and Violence Taxonomy and coding the identified incident data with a

                                  26   high degree of adherence relative to coding from experts working on issues of sexual misconduct

                                  27   and assault. Dkt. Nos. 592-1 at 80, 592-2 at 70–71.

                                  28          Based on its analysis of the data, Uber emphasized in both the 2017–2018 and 2018–2019
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                                   1   Court is required to limit discovery that is unreasonably cumulative or duplicative, that the party

                                   2   seeking discovery has had ample opportunity to obtain, or that is outside the scope of permissible

                                   3   discovery described in Rule 26(b)(1). Fed. R. Civ. P. 26(b)(2). A party may serve requests for

                                   4   documents on any other party so long as the request is within the scope of permissible discovery

                                   5   as defined in Rule 26(b)(1). Fed. R. Civ. P. 34(a). The requests “must describe with reasonable

                                   6   particularity each item or category of items” to be produced. Fed. R. Civ. P. 34(b)(1)(A).

                                   7          “The party seeking discovery has the initial burden of establishing that its request satisfies

                                   8   Rule 26(b)(1)’s relevancy requirement.” Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med.

                                   9   Progress, No. 16CV00236WHODMR, 2019 WL 311622, at *3 (N.D. Cal. Jan. 24, 2019). “The

                                  10   test for relevance is not overly exacting: evidence is relevant if it has ‘any tendency to make . . .

                                  11   more or less probable . . . [a] fact [that] is of consequence in determining the action.’” In re

                                  12   Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liabl. Litig., 2017 WL 4680242, at
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                                  13   *1 (N.D. Ca. Oct 18, 2017) (quoting Fed. R. Evid. 401). On the other hand, the party opposing

                                  14   discovery “has the burden of showing that discovery should not be allowed, and also has the

                                  15   burden of clarifying, explaining and supporting [his] objections with competent evidence.” Sayta

                                  16   v. Martin, No. 16-CV-03775-LB, 2019 WL 666722, at *1 (N.D. Cal. Feb. 19, 2019) (quoting La.

                                  17   Pac. Corp. v. Money Mkt. 1 Inst. Inv. Dealer, 285 F.R.D. 481, 485 (N.D. Cal. 2012)).

                                  18   III.   DISCUSSION

                                  19          As to the threshold relevancy requirement, Plaintiffs argue that the documents related to,

                                  20   and the data underlying, the Safety Reports bear on what Uber knew, when it had notice of

                                  21   widespread sexual assault and harassment committed by its drivers against its passengers, and

                                  22   what response the company undertook. Dkt. No. 651 at 1. Uber, however, contends that the data

                                  23   are unreliable, and thus, do not offer proof of such notice, and on that account, Plaintiffs’

                                  24   discovery request should be denied. Id. at 4–5. Uber fails to recognize that evidence is relevant if

                                  25   “it has any tendency to make a fact more or less probable than it would be without the evidence.”

                                  26   Fed. R. of E. 401. If certain incident reports are unverified or have less robust corroboration, that

                                  27   may affect the strength of the evidence as to notice, but it does not preclude discovery.

                                  28          Plaintiffs have established relevancy not just in relation to the incident reports themselves,
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                                   1   but also the underlying trip data for each incident (e.g., GPS information, trip date and time, etc.).

                                   2   These data are important for Plaintiffs to detect patterns associated with claims of sexual assault

                                   3   and sexual misconduct. The existence of patterns based on the incidents reported may tend to

                                   4   show whether Uber disregarded the risk of sexual assault and misconduct on a systematic basis in

                                   5   particular circumstances where passengers may be especially vulnerable to victimization.

                                   6          Nevertheless, to the extent that Plaintiffs’ request is for documents and data related to all

                                   7   800,000 user reports reviewed by Uber during the course of preparing both Safety Reports, this

                                   8   request is patently overbroad. The 800,000 reports involve non-safety related consumer issues and

                                   9   two other categories of critical safety incidents analyzed in the Safety Reports: motor vehicle

                                  10   fatalities and fatal physical assault. Dkt. Nos. 592-1 at 47, 592-2 at 46. Hence, many of the user

                                  11   reports reviewed by the auditors are not related to the key issues in this case. Uber, therefore, is

                                  12   not obligated to produce documents and data regarding reports that are not safety-related, or those
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                                  13   that concern fatalities and do not involve sexual assault or sexual misconduct.

                                  14          As to documents concerning sexual assault and sexual misconduct, Uber appears to

                                  15   advance an alternative argument that the data Plaintiffs seek is not important enough that its

                                  16   production is proportional to the needs of this case. Uber asserts that custodial files, such as the

                                  17   records from its Director of Women’s Safety, Director of Data Science, and others, will have

                                  18   relevant data and statistics concerning the incidents related to Uber’s Safety Reports, and

                                  19   communications discussing these data and what should be included or not within the Reports. Tr.

                                  20   at 17; see also Dkt. No. 651 at 6. This argument is unpersuasive because the nature of the

                                  21   incidents reported to Uber and the information associated with the incident tickets may lend

                                  22   significance to what is or is not discussed in each custodian’s communications or reflected in their

                                  23   files. For example, if certain types of incidents are not discussed or scrutinized at all in the key

                                  24   custodians’ records and communications, though such incidents are repeatedly reported or

                                  25   captured through various channels, then that may tend to show a lack of oversight when Uber

                                  26   should have known of a risk of misdeeds. In addition, if certain incident trends exist and are

                                  27   discussed by key custodians, then that may reflect on the quality of Uber’s oversight efforts.

                                  28          Uber also urges that some categories of the Sexual Misconduct and Violence Taxonomy
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                                   1   have “inherent data quality problems,” including those categories that concern “staring” or

                                   2   “flirting” or “comments about appearance.” Dkt. No. 651 at 5. On the one hand, these categories

                                   3   may be especially unreliable, and the type of conduct at issue less severe, such that requiring Uber

                                   4   to produce the underlying data concerning these alleged incidents of flirting, staring and foul

                                   5   remarks is not proportional to the needs of the case. On the other hand, Plaintiffs have alleged that

                                   6   at least until 2018, Uber lacked a formal taxonomy for tracking sexual misconduct through its

                                   7   platform, leading to mislabeling of sexual assault as flirtation, inappropriate comments, or

                                   8   inappropriate communications. ECF No. 269, Master Long Form Complaint ¶ 254. Plaintiffs

                                   9   further allege that Uber’s information gathering and investigations continue to limit its ability to

                                  10   identify and prevent sexual misconduct by Uber drivers. Id. ¶ 257. In light these allegations, even

                                  11   incidents reviewed as part of the preparation of the Safety Reports that fall within the less severe

                                  12   categories of misconduct may be important to Plaintiffs’ case, if they seek to show a breach of a
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                                  13   duty of care by demonstrating that Uber mishandled incident reports on an ongoing, systematic

                                  14   basis. These allegations may ultimately lack merit, but Plaintiffs are entitled to this discovery

                                  15   under Rule 26.

                                  16          Next, Uber contends that it is unduly burdensome for it to produce new statistical analyses,

                                  17   and that it should not be required to compile nationwide data that are not readily accessible and

                                  18   not generally kept in the ordinary course of business. Dkt. No. 651 at 4. Plaintiffs, however, are

                                  19   not asking Uber to generate new statistical analyses or other reports. Instead, they request data

                                  20   regarding safety-related complaints that Uber received in the United States from 2017 to the

                                  21   present, which Uber indisputably has. Uber’s Director of Data Science, Katherine McDonald,

                                  22   does not attest to any burden based on the export of existing data related to these incident tickets.

                                  23          Uber contorts Plaintiffs’ request by arguing that such data are not discoverable because

                                  24   they do not exist, and they are not readily available in the form that Uber prefers. Id. Uber has

                                  25   represented that the incidents which Plaintiffs request have been associated with sexual assault and

                                  26   sexual misconduct categories from the Sexual Misconduct and Violence Taxonomy, even if on a

                                  27   preliminary basis. Tr. at 19. The Safety Reports also state that Uber’s auditors reviewed over

                                  28   800,000 user reports to ensure that incidents were categorized accurately and comprehensively.
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                                   1   one categories of sexual assault and sexual misconduct from the Sexual Misconduct and Violence

                                   2   Taxonomy. For all incident reports that Uber produces, it shall also produce all underlying trip

                                   3   data (e.g., GPS information, trip date and time, etc.).

                                   4          IT IS SO ORDERED.

                                   5   Dated: July 9, 2024

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                                                                                                   LISA J. CISNEROS
                                   8                                                               United States Magistrate Judge
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